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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )          4:06CR3027-3
                                          )
                  Plaintiff,              )
                                          )
      vs.                                 )          ORDER
                                          )
RUBEN DARIO NUNEZ,                        )
                                          )
                  Defendant.              )



      After consultation with counsel,

      IT IS ORDERED that:

      (1)   Defendant’s motion to continue sentencing (filing 107) is granted.

       (2) Sentencing of Defendant Ruben Dario Nunez before the undersigned
United States District Judge is hereby continued until 12:30 p.m. on Friday,
December 15, 2006, in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska. Since this is a criminal
case, the defendant shall be present unless excused by the court.

      October 13, 2006.               BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
